                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

                                                               No. 19-mj-4532-DHH
        v.

 ZAOSONG ZHENG

        Defendant


                          MOTION TO RECONSIDER RELEASE

       The United States moves this Court to reconsider the government’s motion to detain

defendant Zaosong Zheng under 18 U.S.C. § 3142(f)(2)(A). As explained herein and at the

detention hearing, Zheng has almost no connections to the United States and there is serious risk

that he will flee from the United States making prosecution impossible because the People’s

Republic of China does not have an extradition treaty with the United States.

                                        Procedural Background

       On December 10, 2019, Zaosong Zheng was charged by criminal complaint with making

materially false, fictitious or fraudulent statements in violation of 18 U.S.C. § 1001. Zheng made

his initial appearance before this Court on December 11, 2019. The government moved for

detention pursuant to 18 U.S.C. § 3142(f)(2)(A), on the ground that defendant poses a serious

risk of flight and a detention hearing was scheduled for December 16, 2019.

       At the detention hearing, the government called Special Agent Kara D. Spice, Federal

Bureau of Investigation (FBI), who offered testimony about the circumstances around Zheng’s

charge and arrest. The Court took the matter under submission for further hearing on December

18, 2019. On December 18, 2019, the government again called Special Agent Spice and offered
further evidence in support of its motion for detention. The Court found that the government had

met its burden of showing that defendant demonstrates a serious risk of flight but that the Court

could fashion conditions to assure defendant’s appearance. The Court ordered defendant

released on a $100,000 bond, $15,000 of which was to be secured by cash posted by the

defendant or a surety. The defendant is to be subject to electronic monitoring and is restricted

from leaving the City of Boston or going to any airport.

       The government hereby moves the Court to reconsider its order of release.

                                      Factual Background 1

       Zaosong Zheng is a Chinese national present in the United States on a J-1 Exchange

Visitor Program 2 visa. Zheng was sponsored for his visa by Harvard University and he worked

at the Beth Israel Deaconess Medical Center (BIMDC), conducting medical research.

       On December 9, 2019, Zheng went to Boston’s Logan airport with a ticket to China on

Hainan Airlines flight 482. Customs and Border Protection (CBP) officers examined Zheng’s

checked baggage and found twenty-one vials of an unknown substance, wrapped in cellophane,

stuffed in a sock, in one of Zheng’s bags.

       CBP officers contacted Zheng before he got on his flight and asked him, through a CBP

officer fluent in Mandarin, whether there were any biological specimens in his luggage. Zheng

denied that there were.

       Zheng was then interviewed in another location within the airport and he admitted that, in

fact the vials found in his luggage contained biomedical research specimens. Zheng admitted



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           The following facts were adduced through testimony of Special Agent Kara D. Spice,
Federal Bureau of Investigation, on December 16 and December 18, 2019.
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           Information about the J-1 visa program can be found publicly at
https://j1visa.state.gov/basics.
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that he had stolen some of the vials from the BIDMC lab and that some of the other vials

contained specimens that he had produced by replicating someone else’s work, without the

knowledge or authorization of his lab. Zheng claimed that he intended to bring the specimens to

a lab where he works in China to conduct further research, publish a paper and take credit for the

work that he had stolen from the United States.

       Zheng had two laptop computers, a cellphone, and a flashdrive with him at the airport.

Zheng claimed that one of the laptops belonged a person named Lei Liu, and that Zheng was

bringing it to China because Lei Liu did not have room in his luggage to carry it himself. A

cursory search of the laptop, pursuant to CBP’s border search authority, revealed what appeared

to be research material. It is not yet known if Liu’s laptop computer contains intellectual

property or trade secrets of BIDMC. Nor do we know yet know the value of the stolen materials

in Zheng’s possession. Depending on what is in those vials, Zheng may face additional and

more serious charges, including 18 U.S.C. §§ 1832 (theft of trade secrets) and 2314

(transportation of stolen goods in interstate or foreign commerce).

       CBP seized the vials found in Zheng’s luggage and kept his electronic devices but let

Zheng leave, explaining to him that if he had a flight the following day, it was possible that he

could get his devices back (or words to that effect).

       On December 10, 2019, Zheng returned to the airport. He had booked a flight to China

that afternoon. When Zheng arrived he was met by FBI agents who detained and interviewed

him. With the aid of a Mandarin linguist, Zheng was advised of his Miranda rights, which he

waived, and was then interviewed. Zheng explained that he worked for Wenyi Wei, the director

of the laboratory at BIDMC, conducting research related to cancer. Zheng admitted that he had

stolen biological specimens from BIDMC and that he was trying to get the specimens to China



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for further research. Zheng claimed that the specimens he tried to smuggle out of the country

were intended for use in cancer treatment research. While Zheng was being interviewed a

complaint was issued charging him with violating 18 U.S.C. § 1001 and a warrant was issued for

his arrest. After his interview, Zheng was arrested. CBP officers asked Zheng where his

baggage was and he told CBP officers that his roommate was outside the airport with his bags.

       On the afternoon of December 16, 2019, undersigned counsel spoke with counsel for

BIDMC. Although at the time of the conversation, the captioned matter was sealed, counsel for

BIDMC assured government counsel that, if a laboratory researcher at BIDMC were found to

have stolen from the lab, that researcher would be immediately fired. If that person were a J-1

visa holder, sponsorship for his or her visa would be immediately rescinded.

       On December 17, 2019, 3 FBI agents searched Zheng’s apartment pursuant to a warrant.

In the apartment, agents found Zheng’s former roommate, Jialin Li. Li, a Chinese national, also

in the United States on a J-1 visa, is a medical researcher who like, Zheng, was working for

Wenyi Wei, the director of the lab at BIDMC. Li told agents that Zheng had packed all of his

belongings in suitcases before leaving for the airport on December 9, 2019. Although on

December 10, 2019, when asked by CBP officers where his luggage was, Zheng claimed that his

roommate was outside the airport with his bags, on December 17, 2019, when asked by FBI

agents, Jialin Li denied driving Zheng to the airport.

       The bags appear to contain most, if not all of Zheng’s personal belongings in the

apartment.




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         The following facts were learned following the December 18, 2019, continued detention
hearing and are set forth in the attached affidavit of Special Agent Spice.
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       Jialin Li indicated that two other Chinese nationals, Lei Liu and Leina Mo, who had

worked at the same laboratory run by Wenyi Wei had recently returned to China, smuggling

biological materials.

                                          ARGUMENT

       This Court retains jurisdiction over the matter of defendant’s release and can amend an

order of release at any time. 18 U.S.C. § 3142(c)(3).

       At the time the parties last appeared before the Court, the government was not aware that

Zheng had packed nearly all of his personal belongings into suitcases and was ready to leave

with them to China on December 9, 2019. The government was also unaware that Lei Liu, the

person whose computer Mr. Zheng claimed he was carrying, had, according to Zheng’s

roommate and fellow lab researcher, also smuggled biological specimens out of the United States

to China.

       These facts demonstrate that on December 9, 2019, Zheng intended to leave the United

States and not return. It also strongly suggests that Zheng’s theft and attempt to smuggle

biological specimens out of the United States, was not an isolated incident. Rather, it appears to

have been a coordinated crime, with likely involvement by the Chinese government, as at least

two other Chinese nationals working at the same lab have also stolen biological materials and

smuggled them out of the United States in violation of 18 U.S.C. § 554.

       Were Zheng released and intent on returning to China, as his conduct would suggest, the

United States Attorney’s Office would not be able to prevent Immigration and Customs

Enforcement from removing Zheng. This is because the release or detention of a defendant

pending trial under the bail reform act (BRA) is a separate matter from the same defendant’s

release or detention by immigration authorities pending removal from the United States.



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“Detention of a criminal defendant pending trial pursuant to the BRA and detention of a

removable alien pursuant to the INA [Immigration and Nationality Act] are separate functions

that serve separate purposes and are performed by different authorities.” United States v.

Vasquez-Benitez, 919 F.3d 546, 552 (D.C. Cir. 2019). “So long as ICE [Immigration and

Customs Enforcement] detains the alien for the permissible purpose of effectuating his removal

and not to skirt the Court’s decision in setting the terms of his release under the BRA, detention

does not offend separation-of-powers principles simply because a federal court, acting pursuant

to the BRA, has ordered that same alien released pending his criminal trial.” Id. (internal

quotations and brackets omitted).

       Therefore, although the United States Attorney’s Office could ask Immigration and

Customs Enforcement to refrain from removing Zheng, it would still be within ICE’s discretion

to do so. Here, Zheng has every incentive to flee and no reason to stay in the United States

where he faces prosecution for the current charge and a high likelihood of additional, more

serious charges. Because the United States does not have an extradition treaty with the People’s

Republic of China, if Zheng flees or is removed, the government will be unable to prosecute him.




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                                         CONCLUSION

       For all of the reasons set forth on December 16, and December 18, 2019 and because it

appears that Mr. Zheng was intented to leave the United States on December 9, 2019 and not

return, the government would ask the Court to reconsider its release order and order Zheng

detained pending trial As this Court itself recognized, Zheng poses a serious risk of flight.

There are no conditions that will guarantee his attendance at trial. Accordingly, the government

respectfully requests that this Court reconsider its order of release and detain Zheng.



                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              United States Attorney


                                      By:     /s/ Ben Tolkoff
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants.



                                              /s/ Ben Tolkoff
                                              BENJAMIN TOLKOFF
                                              Assistant United States Attorney




Date: December 20, 2019




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